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EASTERN DIVISION

RBP, LLC,

 

Plaintiff,
Civil Action File No.: 1:04-1154
T/AN

Jury Dern anded

V.

GENUTNE PARTS COMPANY AND
INDIANA lNSURANCE COMPANY,

Defendants.

 

GENUINE PARTS COMPANY,
Third-Party Plaintiff,
v.

ALLIANZ GLOBAL RISKS U.S.
lNSURANCE COMPANY and
LEXINGTON INSURANCE COMPANY,

\_/\w/\_/\J\_/\_/\_/\./V\_/\_/\,/VW\JV\J\/\_/\-/VV\-/V

Third-Party Defendants.

REVISED RULE 16 (b) SCHEDULING ORDER
A Molion to Modify the Rule l6(b) Scheduling Order to Extend the Tiine for Discovery
on behalf of Third-Party Defendant, Allianz Global Risks U.S. lnsurance Conipany, being before
this Court, and the Court being fully advised of the basis of and support ol` this Motion, it is
hereby ORDERED that the following dates are revised and established as the final dates for:
INITIAL DISCLOSURES (RULE 25(a)(1)): Mareh lS, 2005
JOINING PARTIES:

for Plainliff: April 4, 2005
for Defendant: May 4, 2005

rm 3003?349_: ThiS document entered on the docket

t sheet In corn liance /\
with Rule 58 and,'or_79 (a) FRCP on ip§l__&_'l <(}\

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F or Third»Party Def.: June 4, 2005

AMENDING PLEADINGS:

for Plaintiff: April 4, 2005

for Defendant: May 4, 2005

For Third-Party Def.: June 4, 2005

COMPLETING ALL DISCOVERY: By November 23, 2005

(a) REQUESTS FOR PRODUCTION INTERROGATORIES and
REQUESTS FOR ADMISSI()NS:

November 23, 2005

(`b) EXPERT DISCLOSURE (Rule 26(3)(2)):
(i) Plaintiff’S Experts: September 23, 2005

(ii) Defendant’s and Third-Party Defendants’ Experts: October 24, 2005

(iii)Supplernentation under Rule 26(e):10 days after Defendant and
Third party defendants’ disclosure

(c) DEPOSITIONS OF EXPERTS: Novernber 23, 2005
FILING DISPOSITIVE MOTIONS: December 23, 2005

Fl NAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) for Plaintiff: February 10, 2006
(b) for Defendant/Bd Party
Defendant: February 24, 2006

Parties shall have 10 days after service of final lists of Witnesses and exhibits to file

objections under Rule 26(a)(3).

The trial of this matter is expected to last five days and is SET for JURY TRIAL on
l\/Iarch 27, 2006 at 9:30 A.M.. A joint pretrial order is due on Mareh 17, 2006. ln the event the
parties are unable to agree on a joint pretrial order, the parties must notify the court at least ten

days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Request for Produetion and Requests for Admissions must be submitted
tot he opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of

discovery.

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Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter Neither party
may file an additional reply, how4ever, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply accompanied by a memorandum setting forth the reasons for
which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter from
proceeding to trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown the scheduling dates set by this Order will not be modified or

extended

fT IS SO ORDERED.

cg /;Z;Mrar 504/422

s. THoMAs AND`ERs'oN
marsh sTArEs MA_GISTRATE JUDGE

Date: éd/' /¢=2,l QO&|/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 127 in
case 1:04-CV-01154 was distributed by fax, mail, or direct printing on
August 15, 2005 to the parties listed.

EsSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

